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19
                                   UNITED STATES DISTRICT COURT
20
                                 EASTERN DISTRICT OF CALIFORNIA
21

22
       Richard A. Leines,                            No. 2:18-cv-00969-KJM-DB
23
                          Plaintiff,                 STIPULATED PROTECTIVE ORDER
24
              v.
25
       Homeland Vinyl Products, Inc.,
26
                          Defendant.
27

28

     STIPULATED PROTECTIVE ORDER
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 1    1.      PURPOSES AND LIMITATIONS

 2            Disclosure and discovery activity in this action are likely to involve production of

 3    confidential, proprietary, or private information for which special protection from public

 4    disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

 5    Accordingly, the parties hereby stipulate to and petition the court to enter the following Stipulated

 6    Protective Order (“Order”). The parties acknowledge that this Order does not confer blanket

 7    protections on all disclosures or responses to discovery and that the protection it affords from

 8    public disclosure and use extends only to the limited information or items that are entitled to

 9    confidential treatment under the applicable legal principles. The parties further acknowledge, as

10    set forth herein, below, that this Stipulated Protective Order does not entitle them to file

11    confidential information under seal; Local Rules of the United States District Court, Eastern

12    District of California (“L.R.”) 140 (redaction) and L.R. 141 (sealing) sets forth the procedures

13    that must be followed and the standards that will be applied when a party seeks permission from

14    the court to file material under seal.

15    2.      DEFINITIONS

16            2.1     Challenging Party: a Party or Non-Party that challenges the designation of

17    information or items under this Order.

18            2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is

19    generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

20    of Civil Procedure 26(c).
21            2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as

22    well as their support staff).

23            2.4     Designating Party: a Party or Non-Party that designates information or items that it

24    produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

25    CONFIDENTIAL – ATTORNEYS’ EYES ONLY”.

26            2.5     Disclosure or Discovery Material: all items or information, regardless of the
27    medium or manner in which it is generated, stored, or maintained (including, among other things,

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     STIPULATED PROTECTIVE ORDER                                                                        1
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 1    testimony, transcripts, and tangible things), that are produced or generated in disclosures or

 2    responses to discovery in this matter.

 3           2.6     Expert: a person with specialized knowledge or experience in a matter pertinent to

 4    the litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or

 5    as a consultant in this action, (2) is not a past or current employee of a Party or of a Party’s

 6    competitor, and (3) at the time of retention, is not anticipated to become an employee of a Party

 7    or of a Party’s competitor.

 8           2.7     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

 9    Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another

10    Party or Non-Party would create a substantial risk of serious harm that could not be avoided by

11    less restrictive means.

12           2.8     House Counsel: attorneys who are employees of a party to this action. House

13    Counsel does not include Outside Counsel of Record or any other outside counsel.

14           2.9     Non-Party: any natural person, partnership, corporation, association, or other legal

15    entity not named as a Party to this action.

16           2.10    Outside Counsel of Record: attorneys who are not employees of a party to this

17    action but are retained to represent or advise a party to this action and have appeared in this action

18    on behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.

19           2.11    Party: any party to this action, including all of its officers, directors, employees,

20    consultants, retained experts, and Counsel (and their support staffs).
21           2.12    Producing Party: a Party or Non-Party that produces Disclosure or Discovery

22    Material in this action.

23           2.13    Professional Vendors: persons or entities that provide litigation support services

24    (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

25    organizing, storing, or retrieving data in any form or medium) and their employees and

26    subcontractors.
27           2.14    Protected Material: any Disclosure or Discovery Material that is designated as

28    “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

     STIPULATED PROTECTIVE ORDER                                                                         2
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 1           2.15    Receiving Party: a Party that receives Disclosure or Discovery Material from a

 2    Producing Party.

 3    3.     SCOPE

 4           The protections conferred by this Order cover not only Protected Material (as defined

 5    above), but also (1) any information copied or extracted from Protected Material; (2) all copies,

 6    excerpts, summaries, or compilations of Protected Material; and (3) any testimony, conversations,

 7    or presentations by Parties or their Counsel that might reveal Protected Material. No protection is

 8    conferred by this Order for: (a) any information that is in the public domain at the time of

 9    disclosure to a Receiving Party or becomes part of the public domain after its disclosure to a

10    Receiving Party as a result of publication not involving a violation of this Order, including

11    becoming part of the public record through trial or otherwise; and (b) any information known to

12    the Receiving Party prior to the disclosure or obtained by the Receiving Party after the disclosure

13    from a source who obtained the information lawfully and under no obligation of confidentiality to

14    the Designating Party. Any use of Protected Material at trial shall be governed by a separate

15    agreement or order.

16    4.     DURATION

17           Even after final disposition of this litigation, the confidentiality obligations imposed by

18    this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

19    order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

20    claims and defenses in this action, with or without prejudice; and (2) final judgment herein after
21    the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,

22    including the time limits for filing any motions or applications for extension of time pursuant to

23    applicable law.

24    5.     DESIGNATING PROTECTED MATERIAL

25           5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party

26    or Non-Party that designates information or items for protection under this Order must take care
27    to limit any such designation to specific material that qualifies under the appropriate standards.

28    To the extent it is practical to do so, the Designating Party must designate for protection only

     STIPULATED PROTECTIVE ORDER                                                                       3
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 1    those parts of material, documents, items, or oral or written communications that qualify – so that

 2    other portions of the material, documents, items, or communications for which protection is not

 3    warranted are not swept unjustifiably within the ambit of this Order.

 4           Mass, indiscriminate, or routinized designations are prohibited. Designations that are

 5    shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

 6    unnecessarily encumber or retard the case development process or to impose unnecessary

 7    expenses and burdens on other parties) expose the Designating Party to sanctions.

 8           If it comes to a Designating Party’s attention that information or items that it designated

 9    for protection do not qualify for protection at all or do not qualify for the level of protection

10    initially asserted, that Designating Party must promptly notify all other parties that it is

11    withdrawing the mistaken designation.

12           5.2     Manner and Timing of Designations. Except as otherwise provided in this Order

13    (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

14    Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

15    designated before the material is disclosed or produced.

16           Designation in conformity with this Order requires:

17           (a) for information in documentary form (e.g., paper or electronic documents, but

18    excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

19    Party affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’

20    EYES ONLY” to each page that contains protected material. If only a portion or portions of the
21    material on a page qualifies for protection, the Producing Party also must clearly identify the

22    protected portion(s) (e.g., by making appropriate markings in the margins) and must specify, for

23    each portion, the level of protection being asserted.

24           A Party or Non-Party that makes original documents or materials available for inspection

25    need not designate them for protection until after the inspecting Party has indicated which

26    material it would like copied and produced. During the inspection and before the designation, all
27    of the material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –

28    ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents it wants

     STIPULATED PROTECTIVE ORDER                                                                          4
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 1    copied and produced, the Producing Party must determine which documents, or portions thereof,

 2    qualify for protection under this Order. Then, before producing the specified documents, the

 3    Producing Party must affix the appropriate legend (“CONFIDENTIAL” or “HIGHLY

 4    CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) to each page that contains Protected

 5    Material. If only a portion or portions of the material on a page qualifies for protection, the

 6    Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate

 7    markings in the margins) and must specify, for each portion, the level of protection being

 8    asserted.

 9           (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

10    Designating Party identify on the record, before the close of the deposition, hearing, or other

11    proceeding, all protected testimony and specify the level of protection being asserted. When it is

12    impractical to identify separately each portion of testimony that is entitled to protection and it

13    appears that substantial portions of the testimony may qualify for protection, the Designating

14    Party may invoke on the record (before the deposition, hearing, or other proceeding is concluded)

15    a right to have up to 21 days to identify the specific portions of the testimony as to which

16    protection is sought and to specify the level of protection being asserted. Only those portions of

17    the testimony that are appropriately designated for protection within the 21 days shall be covered

18    by the provisions of this Stipulated Protective Order. Alternatively, a Designating Party may

19    specify, at the deposition or up to 21 days afterwards if that period is properly invoked, that the

20    entire transcript shall be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
21    ATTORNEYS’ EYES ONLY.”

22           Parties shall give the other parties notice if they reasonably expect a deposition, hearing or

23    other proceeding to include Protected Material so that the other parties can ensure that only

24    authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”

25    (Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition

26    shall not in any way affect its designation as “CONFIDENTIAL” or “HIGHLY
27    CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

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     STIPULATED PROTECTIVE ORDER                                                                         5
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 1           Transcripts containing Protected Material shall have an obvious legend on the title page

 2    that the transcript contains Protected Material, and the title page shall be followed by a list of all

 3    pages (including line numbers as appropriate) that have been designated as Protected Material and

 4    the level of protection being asserted by the Designating Party. The Designating Party shall

 5    inform the court reporter of these requirements. Any transcript that is prepared before the

 6    expiration of a 21-day period for designation shall be treated during that period as if it had been

 7    designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless

 8    otherwise agreed. After the expiration of that period, the transcript shall be treated only as

 9    actually designated.

10           (c) for information produced in some form other than documentary and for any other

11    tangible items, that the Producing Party affix in a prominent place on the exterior of the container

12    or containers in which the information or item is stored the legend “CONFIDENTIAL” or

13    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”. If only a portion or portions of

14    the information or item warrant protection, the Producing Party, to the extent practicable, shall

15    identify the protected portion(s) and specify the level of protection being asserted.

16           5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

17    designate qualified information or items does not, standing alone, waive the Designating Party’s

18    right to secure protection under this Order for such material. Upon timely correction of a

19    designation, the Receiving Party must make reasonable efforts to assure that the material is

20    treated in accordance with the provisions of this Order.
21    6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

22           6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

23    confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

24    designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

25    burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

26    challenge a confidentiality designation by electing not to mount a challenge promptly after the
27    original designation is disclosed.

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     STIPULATED PROTECTIVE ORDER                                                                        6
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 1           6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution

 2    process by providing written notice of each designation it is challenging and describing the basis

 3    for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

 4    notice must recite that the challenge to confidentiality is being made in accordance with this

 5    specific paragraph of the Protective Order. The parties shall attempt to resolve each challenge in

 6    good faith and must begin the process by conferring directly (in voice to voice dialogue; other

 7    forms of communication are not sufficient) within 14 days of the date of service of notice. In

 8    conferring, the Challenging Party must explain the basis for its belief that the confidentiality

 9    designation was not proper and must give the Designating Party an opportunity to review the

10    designated material, to reconsider the circumstances, and, if no change in designation is offered,

11    to explain the basis for the chosen designation. A Challenging Party may proceed to the next

12    stage of the challenge process only if it has engaged in this meet and confer process first or

13    establishes that the Designating Party is unwilling to participate in the meet and confer process in

14    a timely manner.

15           6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

16    intervention, the Designating Party shall file and serve a motion to retain confidentiality within 21

17    days of the initial notice of challenge or within 14 days of the parties agreeing that the meet and

18    confer process will not resolve their dispute, whichever is earlier. Each such motion must be

19    accompanied by a competent declaration affirming that the movant has complied with the meet

20    and confer requirements imposed in the preceding paragraph. Failure by the Designating Party to
21    make such a motion including the required declaration within 21 days (or 14 days, if applicable)

22    shall automatically waive the confidentiality designation for each challenged designation. In

23    addition, the Challenging Party may file a motion challenging a confidentiality designation at any

24    time if there is good cause for doing so, including a challenge to the designation of a deposition

25    transcript or any portions thereof. Any motion brought pursuant to this provision must be

26    accompanied by a competent declaration affirming that the movant has complied with the meet
27    and confer requirements imposed by the preceding paragraph.

28

     STIPULATED PROTECTIVE ORDER                                                                         7
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 1           The burden of persuasion in any such challenge proceeding shall be on the Designating

 2    Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose

 3    unnecessary expenses and burdens on other parties) may expose the Challenging Party to

 4    sanctions. Unless the Designating Party has waived the confidentiality designation by failing to

 5    file a motion to retain confidentiality as described above, all parties shall continue to afford the

 6    material in question the level of protection to which it is entitled under the Producing Party’s

 7    designation until the court rules on the challenge.

 8    7.     ACCESS TO AND USE OF PROTECTED MATERIAL

 9           7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed or

10    produced by another Party or by a Non-Party in connection with this case only for prosecuting,

11    defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to

12    the categories of persons and under the conditions described in this Order. When the litigation has

13    been terminated, a Receiving Party must comply with the provisions of section 13 below (FINAL

14    DISPOSITION).

15           Protected Material must be stored and maintained by a Receiving Party at a location and

16    in a secure manner that ensures that access is limited to the persons authorized under this Order.

17           7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

18    by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

19    information or item designated “CONFIDENTIAL” only to:

20           (a) the Receiving Party’s Outside Counsel of Record in this action, as well as its
21    employees, contractors and subcontractors to whom it is reasonably necessary to disclose the

22    information for this litigation and who have signed the “Acknowledgment and Agreement to Be

23    Bound” that is attached hereto as Exhibit A;

24           (b) the officers, directors, and employees (including House Counsel) of the Receiving

25    Party to whom disclosure is reasonably necessary for this litigation and who have signed the

26    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
27

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     STIPULATED PROTECTIVE ORDER                                                                       8
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 1           (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

 2    reasonably necessary for this litigation and who have signed the “Acknowledgment and

 3    Agreement to Be Bound” (Exhibit A);

 4           (d) the court and its personnel;

 5           (e) court reporters and their staff, professional jury or trial consultants, and Professional

 6    Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the

 7    “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 8           (f) during their depositions, witnesses in the action to whom disclosure is reasonably

 9    necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

10    unless otherwise agreed by the Designating Party or ordered by the court. Pages of

11    transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be

12    separately bound by the court reporter and may not be disclosed to anyone except as permitted

13    under this Stipulated Protective Order.

14           (g) the author or recipient of a document containing the information or a custodian or

15    other person who otherwise possessed or knew the information.

16           7.3     Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

17    Information or Items. Unless otherwise ordered by the court or permitted in writing by the

18    Designating Party, a Receiving Party may disclose any information or item designated “HIGHLY

19    CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:

20           (a) the Receiving Party’s Outside Counsel of Record in this action, as well as its
21    employees, contractors and subcontractors to whom it is reasonably necessary to disclose the

22    information for this litigation and who have signed the “Acknowledgment and Agreement to Be

23    Bound” that is attached hereto as Exhibit A;

24           (b) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this

25    litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

26    and (3) as to whom the procedures set forth in paragraph 7.4(a)(2), below, have been followed;
27           (c) the court and its personnel;

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     STIPULATED PROTECTIVE ORDER                                                                       9
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 1           (d) court reporters and their staff, professional jury or trial consultants, and Professional

 2    Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the

 3    “Acknowledgment and Agreement to Be Bound” (Exhibit A); and

 4           (e) the author or recipient of a document containing the information or a custodian or

 5    other person who otherwise possessed or knew the information.

 6           7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY CONFIDENTIAL

 7    – ATTORNEYS’ EYES ONLY” Information or Items to Experts.

 8           (a) Unless otherwise ordered by the court or agreed to in writing by the Designating Party,

 9    a Party that seeks to disclose to an Expert (as defined in this Order) any information or item that

10    has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to

11    paragraph 7.3(b) first must make a written request to the Designating Party that (1) identifies the

12    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information that the Receiving

13    Party seeks permission to disclose to the Expert, (2) sets forth the full name of the Expert and the

14    city and state of his or her primary residence, (3) attaches a copy of the Expert’s current resume,

15    (4) identifies the Expert’s current employer(s), (5) identifies each person or entity from whom the

16    Expert has received compensation or funding for work in his or her areas of expertise or to whom

17    the expert has provided professional services, including in connection with a litigation, at any

18    time during the preceding five years, and (6) identifies (by name and number of the case, filing

19    date, and location of court) any litigation in connection with which the Expert has offered expert

20    testimony, including through a declaration, report, or testimony at a deposition or trial, during the
21    preceding five years.

22           (b) A Party that makes a request and provides the information specified in the preceding

23    respective paragraphs may disclose the subject Protected Material to the identified Expert unless,

24    within 14 days of delivering the request, the Party receives a written objection from the

25    Designating Party. Any such objection must set forth in detail the grounds on which it is based.

26           (c) A Party that receives a timely written objection must meet and confer with the
27    Designating Party (through direct voice to voice dialogue) to try to resolve the matter by

28    agreement within seven days of the written objection. If no agreement is reached, the Party

     STIPULATED PROTECTIVE ORDER                                                                       10
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 1    seeking to make the disclosure to the Expert may file a motion seeking permission from the court

 2    to do so. Any such motion must describe the circumstances with specificity, set forth in detail the

 3    reasons why the disclosure to the Expert is reasonably necessary, assess the risk of harm that the

 4    disclosure would entail, and suggest any additional means that could be used to reduce that risk.

 5    In addition, any such motion must be accompanied by a competent declaration describing the

 6    parties’ efforts to resolve the matter by agreement (i.e., the extent and the content of the meet and

 7    confer discussions) and setting forth the reasons advanced by the Designating Party for its refusal

 8    to approve the disclosure.

 9           In any such proceeding, the Party opposing disclosure to the Expert shall bear the burden

10    of proving that the risk of harm that the disclosure would entail (under the safeguards proposed)

11    outweighs the Receiving Party’s need to disclose the Protected Material to its Expert.

12    8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
             LITIGATION
13

14           If a Party is served with a subpoena or a court order issued in other litigation that compels

15    disclosure of any information or items designated in this action as “CONFIDENTIAL” or

16    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” that Party must:

17           (a) promptly notify in writing the Designating Party. Such notification shall include a

18    copy of the subpoena or court order;

19           (b) promptly notify in writing the party who caused the subpoena or order to issue in the

20    other litigation that some or all of the material covered by the subpoena or order is subject to this

21    Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and

22           (c) cooperate with respect to all reasonable procedures sought to be pursued by the

23    Designating Party whose Protected Material may be affected.

24           If the Designating Party timely seeks a protective order, the Party served with the

25    subpoena or court order shall not produce any information designated in this action as

26    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a

27    determination by the court from which the subpoena or order issued, unless the Party has obtained

28    the Designating Party’s permission. The Designating Party shall bear the burden and expense of

     STIPULATED PROTECTIVE ORDER                                                                      11
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 1    seeking protection in that court of its confidential material – and nothing in these provisions

 2    should be construed as authorizing or encouraging a Receiving Party in this action to disobey a

 3    lawful directive from another court.

 4    9.       A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
               LITIGATION
 5

 6             (a)   The terms of this Order are applicable to information produced by a Non-Party in

 7    this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

 8    ATTORNEYS’ EYES ONLY”. Such information produced by Non-Parties in connection with

 9    this litigation is protected by the remedies and relief provided by this Order. Nothing in these

10    provisions should be construed as prohibiting a Non-Party from seeking additional protections.

11             (b)   In the event that a Party is required, by a valid discovery request, to produce a

12    Non-Party’s confidential information in its possession, and the Party is subject to an agreement

13    with the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

14                       1. promptly notify in writing the Requesting Party and the Non-Party that

15    some or all of the information requested is subject to a confidentiality agreement with a Non-

16    Party;

17                       2. promptly provide the Non-Party with a copy of the Stipulated Protective

18    Order in this litigation, the relevant discovery request(s), and a reasonably specific description of

19    the information requested; and

20                       3. make the information requested available for inspection by the Non-Party.

21             (c)   If the Non-Party fails to object or seek a protective order from this court within 14

22    days of receiving the notice and accompanying information, the Receiving Party may produce the

23    Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely

24    seeks a protective order, the Receiving Party shall not produce any information in its possession

25    or control that is subject to the confidentiality agreement with the Non-Party before a

26    determination by the court. Absent a court order to the contrary, the Non-Party shall bear the

27    burden and expense of seeking protection in this court of its Protected Material.

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     STIPULATED PROTECTIVE ORDER                                                                        12
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 1    10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

 2                   If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

 3    Protected Material to any person or in any circumstance not authorized under this Stipulated

 4    Protective Order, the Receiving Party must immediately (a) notify in writing the Designating

 5    Party of the unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of

 6    the Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

 7    made of all the terms of this Order, and (d) request such person or persons to execute the

 8    “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

 9    11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
             MATERIAL
10

11           When a Producing Party gives notice to Receiving Parties that certain inadvertently

12    produced material is subject to a claim of privilege or other protection, the obligations of the

13    Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This

14    provision is not intended to modify whatever procedure may be established in an e-discovery

15    order that provides for production without prior privilege review. Pursuant to Federal Rule of

16    Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of a

17    communication or information covered by the attorney-client privilege or work product

18    protection, the parties may incorporate their agreement in the stipulated protective order

19    submitted to the court.

20    12.    MISCELLANEOUS
21           12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to

22    seek its modification by the court in the future.

23           12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective

24    Order no Party waives any right it otherwise would have to object to disclosing or producing any

25    information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

26    Party waives any right to object on any ground to use in evidence of any of the material covered
27    by this Protective Order.

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     STIPULATED PROTECTIVE ORDER                                                                         13
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 1           12.3    Filing Protected Material. Without written permission from the Designating Party

 2    or a court order secured after appropriate notice to all interested persons, a Party may not file in

 3    the public record in this action any Protected Material. A Party that seeks to redact or file under

 4    seal any Protected Material must comply with L.R. 140 and 141. Protected Material may only be

 5    filed under seal pursuant to a court order authorizing the sealing of the specific Protected Material

 6    at issue pursuant to L.R. 141. If a Receiving Party's request to file Protected Material under seal

 7    pursuant to L.R. 141 is denied by the court, then the Receiving Party may file the Protected

 8    Material in the public record unless otherwise instructed by the court.

 9    13.    FINAL DISPOSITION

10                   Within 60 days after the final disposition of this action, as defined in paragraph 4,

11    each Receiving Party must return all Protected Material to the Producing Party or destroy such

12    material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,

13    compilations, summaries, and any other format reproducing or capturing any of the Protected

14    Material. Whether the Protected Material is returned or destroyed, the Receiving Party must

15    submit a written certification to the Producing Party (and, if not the same person or entity, to the

16    Designating Party) by the 60-day deadline that (1) identifies (by category, where appropriate) all

17    the Protected Material that was returned or destroyed and (2) affirms that the Receiving Party has

18    not retained any copies, abstracts, compilations, summaries or any other format reproducing or

19    capturing any of the Protected Material. Notwithstanding this provision, Counsel are entitled to

20    retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
21    legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work

22    product, and consultant and expert work product, even if such materials contain Protected

23    Material. Any such archival copies that contain or constitute Protected Material remain subject to

24    this Protective Order as set forth in Section 4 (DURATION).

25    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

26
      DATED: September 28, 2018
27

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     STIPULATED PROTECTIVE ORDER                                                                        14
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 1    __/s/Jeffrey T. Lindgren__________________
      Attorneys for Plaintiff
 2

 3
      DATED: September 28, 2018
 4

 5    __/s/ Darren G. Reid ____________________
      Attorneys for Defendant
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     STIPULATED PROTECTIVE ORDER                                          15
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 1                                                   ORDER

 2           Pursuant to the parties’ stipulation, IT IS SO ORDERED.

 3           IT IS FURTHER ORDERED THAT:

 4           1. Requests to seal documents shall be made by motion before the same judge who will

 5    decide the matter related to that request to seal.

 6           2. The designation of documents (including transcripts of testimony) as confidential

 7    pursuant to this order does not automatically entitle the parties to file such a document with the

 8    court under seal. Parties are advised that any request to seal documents in this district is governed

 9    by Local Rule 141. In brief, Local Rule 141 provides that documents may only be sealed by a

10    written order of the court after a specific request to seal has been made. L.R. 141(a). However, a

11    mere request to seal is not enough under the local rules. In particular, Local Rule 141(b) requires

12    that “[t]he ‘Request to Seal Documents’ shall set forth the statutory or other authority for sealing,

13    the requested duration, the identity, by name or category, of persons to be permitted access to the

14    document, and all relevant information.” L.R. 141(b).

15           3. A request to seal material must normally meet the high threshold of showing that

16    “compelling reasons” support secrecy; however, where the material is, at most, “tangentially

17    related” to the merits of a case, the request to seal may be granted on a showing of “good cause.”

18    Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096-1102 (9th Cir. 2016);

19    Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006).

20           4. Nothing in this order shall limit the testimony of parties or non-parties, or the use of
21    certain documents, at any court hearing or trial – such determinations will only be made by the

22    court at the hearing or trial, or upon an appropriate motion.

23           5. With respect to motions regarding any disputes concerning this protective order which

24    the parties cannot informally resolve, the parties shall follow the procedures outlined in Local

25    Rule 251. Absent a showing of good cause, the court will not hear discovery disputes on an ex

26    parte basis or on shortened time.
27    ////

28    ////

     STIPULATED PROTECTIVE ORDER                                                                      16
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 1             6. The parties may not modify the terms of this Protective Order without the court’s

 2    approval. If the parties agree to a potential modification, they shall submit a stipulation and

 3    proposed order for the court’s consideration.

 4             7. Pursuant to Local Rule 141.1(f), the court will not retain jurisdiction over enforcement

 5    of the terms of this Protective Order after the action is terminated.

 6             8. Any provision in the parties’ stipulation that is in conflict with anything in this order is

 7    hereby DISAPPROVED.

 8    Dated: October 3, 2018

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     STIPULATED PROTECTIVE ORDER                                                                        17
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 1                                                 EXHIBIT A

 2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3           I, _____________________________ [print or type full name], of _________________

 4    [print or type full address], declare under penalty of perjury that I have read in its entirety and

 5    understand the Stipulated Protective Order that was issued by the United States District Court for

 6    the Eastern District of California on [date] in the case of ___________ [insert formal name of

 7    the case and the number and initials assigned to it by the court]. I agree to comply with and to

 8    be bound by all the terms of this Stipulated Protective Order and I understand and acknowledge

 9    that failure to so comply could expose me to sanctions and punishment in the nature of contempt.

10    I solemnly promise that I will not disclose in any manner any information or item that is subject

11    to this Stipulated Protective Order to any person or entity except in strict compliance with the

12    provisions of this Order.

13           I further agree to submit to the jurisdiction of the United States District Court for the

14    Eastern District of California for the purpose of enforcing the terms of this Stipulated Protective

15    Order, even if such enforcement proceedings occur after termination of this action.

16           I hereby appoint __________________________ [print or type full name] of

17    _______________________________________ [print or type full address and telephone

18    number] as my California agent for service of process in connection with this action or any

19    proceedings related to enforcement of this Stipulated Protective Order.

20
21    Date: _________________________________

22    City and State where sworn and signed: _________________________________

23    Printed name: ______________________________
24           [printed name]

25    Signature: __________________________________
             [signature]
26
27

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     STIPULATED PROTECTIVE ORDER                                                                         18
